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 6
 7 Attorneys for Defendants CITY OF LOS ANGELES, MICHEL MOORE and NATHAN
   RAMOS
 8
                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11                                        )
     M.A.R., a minor, by and through his             Case No. 2:21-cv-02957 JFW (MARx)
                                          )
12   Guardian ad litem, ELISABETH         )          Hon Judge: John F. Walters; Crtm 7A
     BARRAGAN, individually, and as a     )          Hon Magistrate Judge Margo A. Rocconi
13                                        )
     successor in interest to DANIEL      )
14   RIVERA; SILVIA IMELDA RIVERA,        )
                                          )          [PROPOSED] STIPULATED
     individually,                        )
15                                                   PROTECTIVE ORDER
                        Plaintiff,        )
16   vs.                                  )
                                          )
17                                        )
     CITY OF LOS ANGELES; OFFICER         )
18   BRET BEKSTROM; OFFICER TYLER ))
     MOSER; OFFICER MICHAEL LOPEZ; )
19
     OFFICER NATHAN RAMOS; OFFICER )
                                          )
20   ANGEL ROMERO; Police Chief           )
     MICHEL MOORE, in his individual, and )
21                                        )
     official capacity; and DOES 6-10,    )
22   inclusive;                           )
                         Defendants.      )
23                                        )
                                          )
24
25
26 1. A. PURPOSES AND LIMITATIONS
27         Discovery in this action is likely to involve production of items both Defendants
28 and Plaintiff allege are confidential, proprietary, or private information for which special

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 1 protection from public disclosure and from use for any purpose other than prosecuting
 2 this litigation may be warranted. Accordingly, the parties hereby stipulate to and petition
 3 the Court to enter the following Stipulated Protective Order. The parties acknowledge
 4 that this Stipulated Protective Order does not confer blanket protections on all disclosures
 5 or responses to discovery and that the protection it affords from public disclosure and use
 6 extends only to the limited information or items that are entitled to confidential treatment
 7 under the applicable legal principles. The parties further acknowledge, as set forth in
 8 Section 12.3, below, that this Stipulated Protective Order does not entitle them to file
 9 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that
10 must be followed and the standards that will be applied when a party seeks permission
11 from the court to file material under seal.
12         B. GOOD CAUSE STATEMENT
13         One or more of the Parties assert that this action is likely to involve documents and
14 information for which special protection from public disclosure and from use for any
15 purpose other than prosecution of this action is warranted. Such confidential and
16 proprietary materials and information consist of, among other things, the personnel files
17 of the police officers involved in this incident, Force Investigation Division materials and
18 information, Internal Affairs-Complaint materials and information, video recordings, and
19 other administrative materials and information currently in the possession of the City, as
20 well as the medical, mental health, and criminal records of Plaintiff, information
21 otherwise generally unavailable to the public, or which may be privileged or otherwise
22 protected from disclosure under state or federal statutes, court rules, case decisions, or
23 common law.
24         Accordingly, to expedite the flow of information, to facilitate the prompt resolution
25 of disputes over confidentiality of discovery materials, to adequately protect information
26 the parties are or may be entitled to keep confidential, to ensure that the parties are
27 permitted reasonable necessary uses of such material in preparation for and in the
28 conduct of trial, to address their handling at the end of the litigation, and to serve the ends

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 1 of justice, a protective order for such information is justified in this matter. It is the intent
 2 of the parties that information will not be designated as confidential for tactical reasons
 3 and that nothing be so designated without a good faith belief by the designating Party that
 4 it has been maintained in a confidential, non-public manner, and there is good cause why
 5 it should not be part of the public record of this case.
 6 2. DEFINITIONS
 7         2.1 Action: This pending federal law suit. M.A.R., a minor, et al., v. City of Los
 8 Angeles, et al., Case No. 2:21-cv-2957-JFW-MAR.
 9         2.2 Challenging Party: a Party or Non-Party that challenges the designation of
10 information or items under this Order.
11         2.3 “CONFIDENTIAL” Information or Items: information (regardless of how it is
12 generated, stored or maintained) or tangible things that qualify for protection under
13 Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
14 Statement.
15         2.4 Counsel: Outside Counsel of Record and In-House Counsel (as well as their
16 support staff).
17         2.5 Designating Party: a Party or Non-Party that designates information or items
18 that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
19         2.6 Disclosure or Discovery Material: all items or information, regardless of the
20 medium or manner in which it is generated, stored, or maintained (including, among
21 other things, testimony, transcripts, and tangible things), that are produced or generated
22 in disclosures or responses to discovery in this matter.
23         2.7 Expert: a person with specialized knowledge or experience in a matter pertinent
24 to the litigation who has been retained by a Party or its counsel to serve as an expert
25 witness or as a consultant in this Action.
26         2.8 In-House Counsel: attorneys who are employees of a party to this Action.
27 House Counsel does not include Outside Counsel of Record or any other outside counsel.
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 1          2.9 Non-Party: any natural person, partnership, corporation, association, or other
 2 legal entity not named as a Party to this action.
 3          2.10 Outside Counsel of Record: attorneys who are not employees of a party to this
 4 Action but are retained to represent or advise a party to this Action and have appeared in
 5 this Action on behalf of that party or are affiliated with a law firm which has appeared on
 6 behalf of that party, and includes support staff.
 7          2.11 Party: any party to this Action, including all of its officers, directors,
 8 employees, consultants, retained experts, and Outside Counsel of Record (and their
 9 support staffs).
10          2.12 Producing Party: a Party or Non-Party that produces Disclosure or Discovery
11 Material in this Action.
12          2.13 Professional Vendors: persons or entities that provide litigation support
13 services (e.g., photocopying, videotaping, translating, preparing exhibits or
14 demonstrations, and organizing, storing, or retrieving data in any form or medium) and
15 their employees and subcontractors.
16          2.14 Protected Material: any Disclosure or Discovery Material that is designated as
17 “CONFIDENTIAL.”
18          2.15 Receiving Party: a Party that receives Disclosure or Discovery
19 Material from a Producing Party.
20 3. SCOPE
21          The protections conferred by this Stipulation and Order cover not only Protected
22 Material (as defined above), but also (1) any information copied or extracted from
23 Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
24 Material; and (3) any testimony, conversations, or presentations by Parties or their
25 Counsel that might reveal Protected Material.
26          Any use of Protected Material at trial shall be governed by the orders of the trial
27 judge. This Stipulated Protective Order does not govern the use of Protected Material at
28 trial.

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 1 4. DURATION
 2         Should any Protected Material become part of the public record at trial or
 3 otherwise (such as where the Court denies the request to file under seal), this Protective
 4 Order shall no longer apply to such portions at Trial which became part of the public
 5 record, with the exception that all such material/documents, whether part of the public
 6 record or not, must still be returned in compliance with Section 14: Final Disposition.
 7         Should any portion of the Protected Material remain confidential until trial, during
 8 any portion of the trial of this action which could entail the discussion or disclosure of
 9 Confidential Information, each Party may request the opportunity to show good cause to
10 the Court as to why access to the courtroom should be limited to parties, their counsel
11 and other designated representative, experts or consultants who agreed to be bound by
12 this stipulation/protective order, and court personnel.
13         For all portions of the Protected Material after final disposition of the Trial,
14 whether they became part of the public record or not, the confidentiality obligations by
15 this Order shall remain in full effect. Final disposition shall be deemed to be the later of
16 (1) dismissal of all claims and defenses in this Action, with or without prejudice; and (2)
17 In any event wherein all remaining claims in this matter are remanded to State Court or
18 severed from the Federal matter and returned to State Court; and/or (3) final judgment
19 herein after the completion and exhaustion of all appeals, re-hearings, remands, trials, or
20 reviews of this Action, including the time limits for filing any motions or applications for
21 extension of time pursuant to applicable law.
22 5. DESIGNATING PROTECTED MATERIAL
23         5.1 Exercise of Restraint and Care in Designating Material for Protection.
24         Each Party or Non-Party that designates information or items for protection under
25 this Stipulated Protective Order must take care to limit any such designation to specific
26 material that qualifies under the appropriate standards. The Designating Party must
27 designate for protection only those parts of material, documents, items, or oral or written
28 communications that qualify so that other portions of the material, documents, items, or

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 1 communications for which protection is not warranted are not swept unjustifiably within
 2 the ambit of this Stipulated Protective Order.
 3         Mass, indiscriminate, or routinized designations are prohibited. Designations that
 4 are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
 5 to unnecessarily encumber the case development process or to impose unnecessary
 6 expenses and burdens on other parties) may expose the Designating Party to sanctions.
 7         If it comes to a Designating Party’s attention that information or items that it
 8 designated for protection do not qualify for protection, that Designating Party must
 9 promptly notify all other Parties that it is withdrawing the inapplicable designation.
10         5.2 Manner and Timing of Designations. Except as otherwise provided in this
11 Stipulated Protective Order (see, e.g., second paragraph of section 5.2(a) below), or as
12 otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies for
13 protection under this Stipulated Protective Order must be clearly so designated before the
14 material is disclosed or produced.
15         Designation in conformity with this Stipulated Protective Order requires the
16 following:
17         (a) for information in documentary form (e.g., paper or electronic documents, but
18 excluding transcripts of depositions or other pretrial or trial proceedings), that the
19 Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
20 “CONFIDENTIAL legend”), to each page that contains protected material. If only a
21 portion or portions of the material on a page qualifies for protection, the Producing Party
22 also must clearly identify the protected portion(s) (e.g., by making appropriate markings
23 in the margins).
24         A Party or Non-Party that makes original documents available for inspection need
25 not designate them for protection until after the inspecting Party has indicated which
26 documents it would like copied and produced. During the inspection and before the
27 designation, all of the material made available for inspection shall be deemed
28 “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants

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 1 copied and produced, the Producing Party must determine which documents, or portions
 2 thereof, qualify for protection under this Stipulated Protective Order.
 3         Then, before producing the specified documents, the Producing Party must affix
 4 the “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 5 portion or portions of the material on a page qualifies for protection, the Producing Party
 6 also must clearly identify the protected portion(s) (e.g., by making appropriate markings
 7 in the margins).
 8         (b) for testimony given in depositions that the Designating Party identify the
 9 Disclosure or Discovery Material on the record, before the close of the deposition all
10 protected testimony.
11         (c) for information produced in some form other than documentary and for any
12 other tangible items, that the Producing Party affix in a prominent place on the exterior of
13 the container or containers in which the information is stored the legend
14 “CONFIDENTIAL.” If only a portion or portions of the information warrants protection,
15 the Producing Party, to the extent practicable, shall identify the protected portion(s).
16         5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
17 designate qualified information or items does not, standing alone, waive the Designating
18 Party’s right to secure protection under this Stipulated Protective Order for such material.
19         Upon timely correction of a designation, the Receiving Party must make
20 reasonable efforts to assure that the material is treated in accordance with the provisions
21 of this Order.
22         5.4 Withdrawal of Designation.
23         A Designating Party may withdraw the designation of information or items for
24 protection under this Order or remove the protected material from some or all of the
25 protections and provisions of this Stipulation and its associated Order by agreement
26 among the parties, or pursuant to an Order of the Court. The Designating Party shall be
27 construed to have withdrawn a designation for protection under this Order by either (1)
28 making such protected material part of the public record—including but not limited to

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 1 attaching such material as exhibits to any filing with the Court without moving, prior to
 2 such filing, for the Court to seal such records; or (2) failing to timely oppose a
 3 Challenging Party’s motion to remove the designation to specific protected material.
 4 6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
 5         6.1 Timing of Challenges. Any Party or Non-Party may challenge a designation of
 6 confidentiality at any time that is consistent with the Court’s Scheduling Order.
 7         6.2 Meet and Confer. The Challenging Party shall initiate the dispute resolution
 8 process under Local Rule 37.1 et seq.
 9         6.3 Burden of Persuasion. The burden of persuasion in any such challenge
10 proceeding shall be on the Designating Party. Frivolous challenges, and those made for
11 an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
12 other parties) may expose the Challenging Party to sanctions. Unless the Designating
13 Party has waived or withdrawn the confidentiality designation, all parties shall continue
14 to afford the material in question the level of protection to which it is entitled under the
15 Producing Party’s designation until the Court rules on the challenge.
16 7. ACCESS TO AND USE OF PROTECTED MATERIAL
17         7.1 Basic Principles. A Receiving Party may use Protected Material that is
18 disclosed or produced by another Party or by a Non-Party in connection with this Action
19 only for prosecuting, defending, or attempting to settle this Action. Such Protected
20 Material may be disclosed only to the categories of persons and under the conditions
21 described in this Order. When the Action has been terminated, a Receiving Party must
22 comply with the provisions of section 13 below (FINAL DISPOSITION).
23         Protected Material must be stored and maintained by a Receiving Party at a
24 location and in a secure manner that ensures that access is limited to the persons
25 authorized under this Stipulated Protective Order.
26         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
27 ordered by the court or permitted in writing by the Designating Party, a Receiving Party
28 may disclose any information or item designated “CONFIDENTIAL” only to:

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 1         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
 2 employees of said Outside Counsel of Record to whom it is reasonably necessary to
 3 disclose the information for this Action;
 4         (b) the officers, directors, and employees (including In-House Counsel) of the
 5 Receiving Party to whom disclosure is reasonably necessary for this Action;
 6         (c) Experts of the Receiving Party to whom disclosure is reasonably necessary for
 7 this Action and who have signed the “Acknowledgment and Agreement to Be Bound”
 8 (Exhibit A);
 9         (d) the court and its personnel;
10         (e) court reporters and their staff;
11         (f) professional jury or trial consultants, mock jurors, and Professional Vendors to
12 whom disclosure is reasonably necessary for this Action and who have signed the
13 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
14         (g) the author or recipient of a document containing the information or a custodian
15 or other person who otherwise possessed or knew the information;
16         (h) during their depositions, witnesses ,and attorneys for witnesses, in the Action to
17 whom disclosure is reasonably necessary provided: (1) the deposing party requests that
18 the witness sign the form attached as Exhibit A hereto; and (2) they will not be permitted
19 to keep any confidential information unless they sign the
20         “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
21 agreed by the Designating Party or ordered by the court. Pages of transcribed deposition
22 testimony or exhibits to depositions that reveal Protected Material may be separately
23 bound by the court reporter and may not be disclosed to anyone except as permitted
24 under this Stipulated Protective Order; and
25         (i) any mediator or settlement officer, and their supporting personnel, mutually
26 agreed upon by any of the parties engaged in settlement discussions.
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 1 8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 2 OTHER LITIGATION
 3         If a Party is served with a subpoena or a court order issued in other litigation that
 4 compels disclosure of any information or items designated in this Action as
 5 “CONFIDENTIAL,” that Party must:
 6         (a) promptly notify in writing the Designating Party. Such notification shall
 7 include a copy of the subpoena or court order;
 8         (b) promptly notify in writing the party who caused the subpoena or order to issue
 9 in the other litigation that some or all of the material covered by the subpoena or order is
10 subject to this Protective Order. Such notification shall include a copy of this Stipulated
11 Protective Order; and
12         (c) cooperate with respect to all reasonable procedures sought to be pursued by the
13 Designating Party whose Protected Material may be affected.
14         If the Designating Party timely seeks a protective order, the Party served with the
15 subpoena or court order shall not produce any information designated in this action as
16 “CONFIDENTIAL” before a determination by the court from which the subpoena or
17 order issued, unless the Party has obtained the Designating Party’s permission. The
18 Designating Party shall bear the burden and expense of seeking protection in that court of
19 its confidential material and nothing in these provisions should be construed as
20 authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
21 from another court.
22 9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
23 THIS LITIGATION
24         9.1. Application. The terms of this Stipulated Protective Order are applicable to
25 information produced by a Non-Party in this Action and designated as
26 “CONFIDENTIAL.” Such information produced by Non-Parties in connection with this
27 litigation is protected by the remedies and relief provided by this Order. Nothing in these
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 1 provisions should be construed as prohibiting a Non-Party from seeking additional
 2 protections.
 3         9.2 Notification. In the event that a Party is required, by a valid discovery request,
 4 to produce a Non-Party’s confidential information in its possession, and the Party is
 5 subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
 6 information, then the Party shall:
 7                (a) promptly notify in writing the Requesting Party and the Non-Party that
 8 some or all of the information requested is subject to a confidentiality agreement with a
 9 Non-Party;
10                (b) promptly provide the Non-Party with a copy of the Stipulated Protective
11 Order in this Action, the relevant discovery request(s), and a reasonably specific
12 description of the information requested; and
13                (c) make the information requested available for inspection by the Non-
14 Party, if requested.
15         9.3 Conditions of Production. If the Non-Party fails to seek a protective order
16 from this court within 14 days of receiving the notice and accompanying information, the
17 Receiving Party may produce the Non-Party’s confidential information responsive to the
18 discovery request. If the Non-Party timely seeks a protective order, the Receiving Party
19 shall not produce any information in its possession or control that is subject to the
20 confidentiality agreement with the Non-Party before a determination by the court. Absent
21 a court order to the contrary, the Non-Party shall bear the burden and expense of seeking
22 protection in this court of its Protected Material.
23 10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
24         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
25 Protected Material to any person or in any circumstance not authorized under this
26 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
27 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
28 all unauthorized copies of the Protected Material, (c) inform the person or persons to

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 1 whom unauthorized disclosures were made of all the terms of this Order, and (d) request
 2 such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
 3 that is attached hereto as Exhibit A.
 4 11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 5 PROTECTED MATERIAL
 6         When a Producing Party gives notice to Receiving Parties that certain
 7 inadvertently produced material is subject to a claim of privilege or other protection,
 8 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 9 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
10 may be established in an e-discovery order that provides for production without prior
11 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
12 parties reach an agreement on the effect of disclosure of a communication or information
13 covered by the attorney-client privilege or work product protection, the parties may
14 incorporate their agreement in the stipulated protective order submitted to the court.
15 12. MISCELLANEOUS
16         12.1 Right to Further Relief. Nothing in this Stipulated Protective Order abridges
17 the right of any person to seek its modification by the Court in the future.
18         12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective
19 Order no Party waives any right it otherwise would have to object to disclosing or
20 producing any information or item on any ground not addressed in this Stipulated
21 Protective Order. Similarly, no Party waives any right to object on any ground to use in
22 evidence of any of the material covered by this Protective Order.
23         12.3 Filing Protected Material. A Party that seeks to file under seal any
24 Protected Material must comply with Civil Local Rule 79-5. Protected Material may only
25 be filed under seal pursuant to a court order authorizing the sealing of the specific
26 Protected Material at issue. If a Party's request to file Protected Material under seal is
27 denied by the court, then the Receiving Party may file the information in the public
28 record unless otherwise instructed by the court.

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 1 13. FINAL DISPOSITION
 2         After the final disposition of this Action, as defined in paragraph 4, within 60 days
 3 of a written request by the Designating Party, each Receiving Party must return all
 4 Protected Material to the Producing Party or destroy such material. As used in this
 5 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 6 summaries, and any other format reproducing or capturing any of the Protected Material.
 7 Whether the Protected Material is returned or destroyed, the Receiving Party must submit
 8 a written certification to the Producing Party (and, if not the same person or entity, to the
 9 Designating Party) by the 60 day deadline that (1) identifies (by category, where
10 appropriate) all the Protected Material that was returned or destroyed and (2)affirms that
11 the Receiving Party has not retained any copies, abstracts, compilations, summaries or
12 any other format reproducing or capturing any of the Protected Material. Notwithstanding
13 this provision, Counsel are entitled to retain an archival copy of all pleadings, motion
14 papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
15 deposition and trial exhibits, expert reports, attorney work product, and consultant and
16 expert work product, even if such materials contain Protected Material. Any such archival
17 copies that contain or constitute Protected Material remain subject to this Protective
18 Order as set forth in Section 4 (DURATION).
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 1 14. VIOLATION
 2        Any violation of this Order may be punished by any and all appropriate measures
 3 including, without limitation, contempt proceedings and/or monetary sanctions.
 4        IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 5
     DATED: November 2, 2021       V. JAMES DeSIMONE LAW
 6
 7                                 By: /S/ V. James DeSimone
                                         V. JAMES DeSIMONE, ESQ.
 8                                       CARMEN D. SABATER, ESQ.
 9                                       RYANN HALL, ESQ.
                                   Attorneys for Plaintiffs M.A.R., a minor, by and through
10                                 his Guardian ad litem, ELISABETH BARRAGAN,
11                                 individually, and as a successor in interest to DANIEL
                                   RIVERA; SILVIA IMELDA RIVERA, individually
12
13 DATED: November 2, 2021         MICHAEL N. FEUER, City Attorney
14
                                   By: /S/ Christian R. Bojorquez
15
                                    CHRISTIAN R. BOJORQUEZ, Deputy City Attorney
16                                 Attorneys for Defendants CITY OF LOS ANGELES,
17                                 MICHEL MOORE, and NATHAN RAMOS

18
     DATED: November 4, 2021       FERGUSON PRAET & SHERMAN
19
20                                 By:   /S/ Daniel S. Cha
                                         PETER FERGUSON, ESQ.
21                                       DANIEL S. CHA, ESQ.
22                                 Attorneys for Defendants Officer Brett Beckstrom,
                                   Officer Michael Lopez, Officer Tyler Moser, and Officer
23                                 Angel Romero
24
25 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
26 Dated: November 5, 2021
27                                       HONORABLE
                                          ONORABLE
                                                R       MARGO A. ROCCONI
                                         United States District Court Magistrate Judge
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 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I, _____________________________ [print or type full name], of
 4 _________________ [print or type full address], declare under penalty of perjury that I
 5 have read in its entirety and understand the Stipulated Protective Order that was issued by
 6 the United States District Court for the Central District of California on [date] in the case
 7 of ___________ [insert formal name of the case and the number and initials assigned
 8 to it by the court]. I agree to comply with and to be bound by all the terms of this
 9 Stipulated Protective Order and I understand and acknowledge that failure to so comply
10 could expose me to sanctions and punishment in the nature of contempt. I solemnly
11 promise that I will not disclose in any manner any information or item that is subject to
12 this Stipulated Protective Order to any person or entity except in strict compliance with
13 the provisions of this Order.
14         I further agree to submit to the jurisdiction of the United States District Court for
15 the Central District of California for the purpose of enforcing the terms of this Stipulated
16 Protective Order, even if such enforcement proceedings occur after termination of this
17 action. I hereby appoint __________________________ [print or type full name] of
18 _______________________________________ [print or type full address and telephone
19 number] as my California agent for service of process in connection with this action or
20 any proceedings related to enforcement of this Stipulated Protective Order.
21
22 Date: ______________________________________
23 City and State where sworn and signed: _________________________________
24 Printed name: _______________________________
25 Signature: __________________________________
26
27
28

                                                  15
